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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                 Criminal No. 06-81 (2)(JNE/RLE)

UNITED STATES OF AMERICA,        )
                                 )
               Plaintiff,        )          ORDER
                                 )
     v.                          )
                                 )
TAMEIKA LALONIE BROWN,           )
                                 )
               Defendant.        )

     This matter is before the Court on the defendant’s pro se

motion for a sentencing reduction under the revised and retroactive

amendments to the United States Sentencing Guidelines applicable to

cocaine base or crack cocaine cases. Title 18, United States Code,

Section 3582(c)(2).

     The defendant asks the Court to reduce her sentence from 48

months to 39 months.      The United States filed a response that

opposed a sentence reduction.     The defendant’s motion is denied.

     I.   Background

     The defendant was charged by Indictment with several counts

alleging violations of Title 21, United States Code.                 She was

permitted to plead guilty to a phone count and the charges in the

Indictment were dismissed.    On January 19, 2007, the defendant was

sentenced to a term of 48 months imprisonment, the statutory

maximum sentence.     Her guidelines range was Offense Level 35 and

Criminal History Level I: 168-210 months.

     On March 28, 2009, the defendant filed the instant motion for

a reduction in her sentence.         She incorrectly calculated the
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amended offense level.             While she is entitled to a two-level

reduction of the offense level to level 33, the amended guidelines

range is now 135-168 months.                  Because the statutory maximum

sentence is 48 months, the new guidelines sentence is unchanged:

48 months.

     II.     Discussion

     The defendant is eligible for a two-level reduction of her

offense    level   pursuant    to    Guideline      Amendments       706   and     711.

Through these amendments, which were made retroactive on March 3,

2008, a defendant could file a motion with the Court for re-

sentencing.     See generally United States v. Starks, 551 F.3d 839

(8th Cir. 2009), petition for cert. Filed, - - - U.S.L.W. - - -

(U.S. Apr. 13, 2009) (No. 08-9839).

     Section 3582(c)(2) authorizes district courts to reduce a

defendant’s     sentence      if    the       defendant’s     original     term     of

imprisonment was based on a guideline range that was subsequently

lowered by an amendment that the Sentencing Commission has made

retroactive.       Amendment       706,   which     was     made    retroactive      by

Amendment 713, triggered § 3582(c)(2) by reducing the base offense

level that applies to the amount of cocaine base for which the

defendant was held responsible from 35 to 33.                 Thus, if Amendment

706 had been in effect at the time the defendant was sentenced, her

total offense level would have been reduced from 35 to 33 and her

advisory guideline range would have been 135 to 168 months.


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            A.     18 U.S.C. § 3582(c)(2)

     When Congress amends sentencing guidelines and gives the

amendments retroactive effect, the district court “may reduce the

term of imprisonment, after considering the factors set forth in

section 3553(a) to the extent that they are applicable.” 18 U.S.C.

§ 3582(c)(2).      The district court is not required to resentence a

defendant under 18 U.S.C. § 3582(c)(2), but may use its discretion.

United States v. Hasan, 245 F.3d 682, 685 (8th Cir. 2001)(en banc).

     In United States v. Hasan, the Eighth Circuit Court of Appeals

set forth the two-stop process by which a court addresses a 3582(c)

motion.     First, the “court must determine what sentence it would

have imposed had the new sentencing range been the range at the

time of the original sentencing.”                 Hasan, 245 F.3d at 684-85

(quotations omitted). Next, the court decides “whether to give the

defendant    the   benefit   of    that      particular    reduced     sentence,”

weighing “the facts before it at the time of resentencing, in light

of the factors set forth in 18 U.S.C. § 3553(a), to the extent they

are applicable.”     Id. at 685.    Applying this two-step process, the

Court declines to reduce the defendant’s sentence.

     Given the amount of drugs that were attributable to the

defendant, a 48 month prison term was a favorable sentence.                      The

amended   guideline     sentence    of       48   months   remains     unchanged.

Considering the Section 3553(a) factors, a 48 month term of

imprisonment is still a reasonable sentence.


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     III. Conclusion

     After considering the Title 18, United States Code, Section

3553(a) factors, the Court declines to reduce the defendant’s

sentence.   Accordingly, the defendant’s motion for a reduction of

sentence is denied.

     IT IS SO ORDERED.


Dated:      May 28, 2009               s/ Joan N. Ericksen
                                       JOAN N. ERICKSEN
                                       United States District Judge




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